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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS                       filed
                                     SHERMAN DIVISION
                                                                                     NOV 1 3 2020
UNITED STATES OF AMERICA                         §          SEALED               Clerk, U.S. trict Court

                                                 §                                astern District of Texas

V.                                               §          Case No. 4:20-CR-0
                                                 §         Judge M Z-zn*rr
KEITH TODD ASHLEY                                §
                                         INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                      General Allegations


         At all times material to the facts set forth in this Indictment:

         1. Keith Todd Ashley ( Ashley ) was an individual residing in Collin

County, Texas, in the Eastern District of Texas.

         2. KBKK, EEC, (“KBKK”) was a Texas company. Ashley was the Chief

Executive Officer and Owner of KBKK, EEC.

         3. North Texas Money Management (“NTMM”) was a Texas company.

Ashley was the Principal of NTMM.

         4. Branch Banking & Trust Company, headquartered in Lumberton, North

 Carolina, was a financial institution insured by the Federal Deposit Insurance

 Corporation.

         5. Bank of America, headquartered in Winston Salem, North Carolina,

 was a financial institution insured by the Federal Deposit Insurance Corporation.

         6. Texas Capital Bank, headquartered in Dallas, Texas, was a financial

 institution insured by the Federal Deposit Insurance Corporation.
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         7.          Chase Bank, N.A., headquartered in New York, New York, was a financial

institution insured by the Federal Deposit Insurance Corporation.

         8. Parkland Securities, LLC, formerly known as Sammons Securities

Company, LLC, was a broker-dealer that offered life insurance underwritten by Midland

National. Ashley was a Registered Representative for Sammons Securities Company,

LLC.

         9. Hennion and Walsh was a broker-dealer that offered a product called

SmartTrust which had Unit Investment Trusts ( UITs ) as an investment option.

         10. Midland National, a subsidiary of Sammons Financial Group, was a life

insurance and annuity company. Ashley was a Registered Representative for Midland

National.


         11. City Hospital of White Rock was a medical facility in Dallas, Texas.

Ashley was a nurse and worked at City Hospital of White Rock.



                                        COUNTS 1-6

                                                   Violation: 18U.S.C. § 1343 (Wire Fraud)

        The General Allegations section of this indictment is realleged and incorporated

by reference as though fully set forth herein.

                                         The Scheme


         12. From on or about December 23, 2013, and continuing through on or about

May 14, 2020, in the Eastern District of Texas, and elsewhere, the defendant, Keith

Todd Ashley ( Ashley ), knowingly devised and intended to devise a scheme and


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 artifice to defraud victim investors, and to obtain money and property from victim

 investors by means of materially false and fraudulent pretenses, representations and

 promises and for the purpose of executing the scheme and artifice, and attempting to do

 so, transmitted and caused to be transmitted by way of wire communication in interstate


 commerce writings, signs, signals, pictures, and sounds, and did so with specific intent to

 defraud, all in violation of 18 U.S.C. § 1343.

                                    Manner and Means




         The manner and means by which the defendant sought to accomplish the purpose of

the scheme and artifice included, among others, the following:

          13. On or about June 21, 2002, Ashley opened a personal bank account at Bank

 of America, account number XXXXXX4804. The address listed for this account, as well

 as Ashley s home banking branch, was located in the Eastern District of Texas.


          14. On or about January 19, 2010, Ashley opened a personal bank account at

 Chase Bank, N.A. account number XXXXXX2589, in the name of North Texas Money

 Management ( NTMM ). The address listed for this account, as well as Ashley’s home

 banking branch, was located in the Eastern District of Texas.


          15. On or about June 6, 2013, Ashley opened a business bank account at

 Citibank, N.A., now Branch Banking & Trust Company ( BB&T ), account number

 XXXXXX8725, in the name of KBKK, EEC. The address listed for this account, as well

 as Ashley’s home banking branch, was located in the Eastern District of Texas.

          16. Ashley controlled, used, and maintained the above accounts to further his

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unlawful scheme, to receive and deposit funds from individuals who thought they were

investing in legitimate investments and to exchange and transfer the funds between the

accounts.


         17. Beginning in or about 2003, Ashley, a financial advisor, marketed and sold

legitimate financial products, such as mutual funds and Variable Annuity Life insurance

products to individuals via his company, NTMM.

         18. Beginning on or about December 23, 2013, Ashley solicited money from

individuals representing that he was investing funds with Parkland Securities and

SmartTrust in what was called a Unit Investment Trust (UIT). In general, Ashley

deposited and comingled the investor funds in the BB&T account number

XXXXXX8725.

        19. Beginning on or about December 23, 2013, Ashley solicited money from

individuals in person, by email, and by use of other wire transmissions in interstate

commerce. As a part of these solicitations, Ashley made false statements,

representations, and promises to potential investors, including that the “investments


would result in guaranteed returns totaling between 3%, 6% to 7% and 8% to 9% per year

on their funds, there was no risk to the individual s initial principal investment, and the

funds would be invested through SmartTrust or Parkland Securities in a UIT. Ashley

communicated with “investors” via phone and email communications on a regular basis.


        20. After Ashley received money from the individuals, instead of investing the

funds through SmartTrust or Parkland Securities in a UIT as he had represented, stated,

and promised would occur, he kept a significant portion of the money for his own
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personal use and wire transferred or direct transferred the balance from BB&T account

number XXXXXX8725, to Bank of America account number XXXXXX4804, Chase

Bank, N.A., bearing account number XXXXXX2589, and other bank accounts he

controlled. The funds were commingled with funds that other individuals provided

Ashley. In total, Ashley received in excess of approximately $1,311,200 from individuals

to whom he had made the materially false representations, pretenses, and promises

related to investing funds with SmartTrust or Parkland Securities in a UIT.


        21. Ashley was personally en iched by the scheme and artifice. Ashley

personally took and spent in excess of approximately $1,143,288 in investor funds and

while he returned approximately $81,325 to investors, he used the remaining bulk of the

funds for a variety of personal expenses and personal benefit, such as brewery expenses,

spending at casinos, payments on personal credit cards, legal fees, cash withdrawals,

mortgage payments, college tuition and student loan payments, and utilities.

                       The Execution of the Scheme Against L.S.


        22. In or about 2014, Ashley began communicating with L.S., an individual

known to the Grand Jury, and soliciting money from L.S. to invest through Parkland

Securities in a UIT. During the course of their communications, Ashley met personally

with L.S. in Plano, Allen and Frisco, Texas, all located in the Eastern District of Texas, to

market his investment scheme. As he was seeking money from L.S., Ashley falsely stated

and represented to L.S. that the UIT investment had guaranteed returns, was tax deferred,


there would be a 6% to 7% return, the investment would never lose money, the funds

would expire and L.S. would get his money back. Ashley did not tell L.S. that he would

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utilize L.S. s money to make payments to other Ashley victims/investors and then

transfer a portion of the remainder to his personal bank account held at Bank of America,

bearing account number XXXXXX4804.

        23. On or about March 12, 2019, in furtherance of the scheme, Ashley sent a .


text message by electronic transmission from Ashley s phone to L.S.’s phone. Within this

text message, Ashley falsely stated and represented that there was an offering for an

investment in a 24 month UIT by stating, Are you interested in 24 month UITI spoke to

you about?

        24. On or about March 21, 2019, in furtherance of the scheme, Ashley sent a

cell phone text message from Ashley’s phone to L.S.’s phone. Within this message,


Ashley falsely stated and represented that the percentage of return for the UIT was 8-

9%.


        25. Based on Ashley’s false representations, pretenses, and statements, L.S.

provided funds to Ashley that L.S. believed Ashley would invest in a UIT investment

through Parkland Securities: on or about December 10, 2019, L.S., at the request of and

with the knowledge of Ashley, signed and caused the deposit of a check payable to

KKBK and in the amount of $20,000 in BB&T bank account number XXXXXX8725.

Ashley transferred a portion of these funds to a checking account that he controlled, and

another portion to another investor.


        26. All told, L.S. provided $221,200 to Ashley to invest through Parkland

Securities in a UIT investment. None of US’s funds were ever invested in a Parkland

Securities UIT investment. L.S. suffered a net loss of approximately $124,113.58 as a
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 result of Ashley s fraud scheme.


                      The Execution of the Scheme Against J.S.


         27. In or about February of 2016, in response to Ashley s representations,

statements, and promises, J.S. began providing money to Ashley for what J.S. understood

was an investment backed by Parkland Securities.


         28. On April 26, 2016, J.S. sent an email to Ashley’s email address

keith@northtexasmoney.com. In the email, J.S. asked Ashley about depositing Some

more cash in either one of the accounts? I have a lot of money sitting on the sidelines

right now, so 3% might be a good tact at this point in time. Later the same day, Ashley

sent a reply to J. S.’s email above by means of interstate wire transmission, and asked

when they could meet to discuss J.S.’s investment options.


         29. On April 27, 2016, J.S. sent a reply email to Ashley and stated, Let’s just

talk over the phone. I was just thinking of $150,000 in the 3% grouping for the first

contract. Ashley sent a reply email to J.S. in which he stated, “Ok let me get some info

gathered I will call you Monday??

        30. On or about May 2, 2016, Ashley caused an interstate wire transmission to

be sent in the form of an email from a SmartTrust UIT investment prospectus that J.S.

would be investing by a SmartTrust UIT investment advisor. Attached to the email was a

personalized SmartTrust UIT investment prospectus that J.S. would be investing

$150,000 in diversified common stocks and closed-end funds.




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         31. Based upon and in response to Ashley s false representations, pretenses,

and statements, J.S. provided $150,000 to Ashley to be invested in a UIT investment

through SmartTrust. On or about May 5, 2016, J.S. caused an interstate wire transfer of

funds in the amount of $150,000 from J.S.’s Texas Capital Bank account XXXXXX7979

to KBKK BB&T Bank account number XXXXXX8725. The wire transfer electronically

passed through the State of North Carolina.

         32. In the weeks following the deposit described above, Ashley made a transfer

of a portion of the deposit to the account of L.S., another Ashley investor, and two

transfers of portions of the deposit to his own account. These transfers included a wire

transfer in the amount of approximately $40,000 that Ashley made on or about May 6,

2016, from KBKK BB&T account number XXXXXX8725 to Ashley’s personal Bank of

America account number XXXXXX4804. Additionally, from these funds, Ashley made

another transfer on or about June 23, 2016 in the amount of $15,000, from KBKK BB&T

account number XXXXXX8725 to Ashley’s personal Bank of America account number

XXXXXX4804. Both of these wire transfers electronically passed through the State of

North Carolina.

        33. These transfers also included a wire transfer in the amount of

approximately $1,200, which electronically passed through the State of North Carolina

which Ashley made on or about June 3, 2016, from KBKK BB&T account number

XXXXXX8725 to an account at Bank of America for the benefit of L.S. another Ashley

investor.




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         34. All told, J.S. provided $770,000 to Ashley to invest through Parkland

Securities in a UIT investment. In the end, J.S. suffered a net loss of approximately

$687,392.96 as a result of Ashley s fraud scheme.

                       The Execution of the Scheme Against D.W.


         35. In or about 2017, Ashley began communicating with D.W., an individual

known to the Grand Jury, soliciting money from D.W. related to the UIT investment

scheme. During the course of their communications, as he was seeking money from

D.W., Ashley falsely stated and represented to DW that the investment would be a

SmartTrust UIT that would be a three-year investment which was tax free. Ashley did not

tell D.W. he actually would use D.W.’s money to make payments to other Ashley

 investors and then transfer a portion of the remainder to his personal bank account held

at Bank of America, bearing account number XXXXXX4804. Based on Ashley’s

representations, pretenses, and statements, D.W. provided approximately $145,000 to

Ashley to be invested through SmartTrust in a UIT investment.


        36. On or about March 14, 2019, D.W. wrote a $20,000 check, made payable to

KBKK, and forwarded it to Ashley to invest. Ashley caused the $20,000 check from

D.W. to be deposited into the KBKK BB&T account number XXXXXX8725.


        37. On April 26, 2020, in furtherance of the scheme, Ashley caused an

electronic communication to be sent by D.W., via email, to Ashley’s email address

keith@northtexasmoney.com. In the email titled “KBKK Update, D.W. stated, “hi keith,

Just wanted to update you on our KBKK bank deposits. Here is the deposit dates that

indicate one month is still missing: October 18, 2019, $645.54, Last old deposit amount.
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 November 26, 2019, $770.79, New deposit amount. December 31, 2019, $770.79, New

 deposit amount. January 2020, $0, No deposit. February 24, 2020, $1,541.59, Deposit for

 both January and February at new amount. March 2020, $0, No Deposit. April 24, 2020,

 $770.79, New Deposit amount (It seems this should have also including (sic) March).

 Also, maybe the random dates may suggest something about the problem. Likely not. Let

 me know Monday what you think. Thanks. Later the same day, Ashley responded to

 D.W. s email and stated I will call you Monday. Keith Ashley.

         38. On or about March 14, 2019, D.W. provided a check in the amount of

 $20,000, made payable to KBKK, to Ashley, which was subsequently deposited into the

 KBKK, LLC, BB&T account number XXXXXX8725. D.W. intended these funds to be

 placed into a SmartTrust UIT investment as explained to him by Ashley, but they were

 not. During the remainder of March, 2019, Ashley caused portions of the funds D.W.

 provided to be transferred both to other investors and to an account that Ashley

 controlled. For example, on March 25, 2019, Ashley wire transferred $2,500 of the

 deposited funds from KBKK BB&T account number XXXXXX8725 to Ashley s

 personal Bank of America account number XXXXXX4804; this wire transfer caused an

 electronic transmission from Texas through the state of North Carolina.


         39. All told, D.W. provided $145,000 to Ashley to invest through SmartTrust

 in a UIT investment. In the end, D.W. suffered a net loss of approximately $97,328.51 as

 a result of Ashley’s fraud scheme.




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                        The Execution of the Scheme Against R.G.


         40. In or about 2019, Ashley began communicating with R.G., an individual

 known to the Grand Jury, and soliciting money from R.G. for what Ashley described as a

 UIT investment through Parkland Securities. During the course of their communications,

 Ashley met with R.G. in the Eastern District of Texas to market his investment scheme to

 R.G. As he was seeking money from R.G., Ashley falsely stated and represented to R.G.

 that the UIT though Parkland Securities was an alternative investment which paid a

 guaranteed rate of return. Ashley did not tell R.G. he would actually use R.G. s money to

 make payments to other Ashley victims/investors and then transfer a portion of the

 remainder to his personal bank account held at Bank of America, account number

 XXXXXX4804.

         41. On or about February 5, 2020, in furtherance of the scheme, Ashley sent a

 cell phone text to R.G. s phone. In this message, Ashley stated, Sent you the wire info. I

 let Parkland know it will be coming today or tomorrow. R.G. responded by cell phone

 text message to Ashley, “Ok, so it goes to Parkland or Branch Banking and Trust Co.

 Ashley replied by cell phone to R.G., “Branch Banking Trust. Every transaction we do is

 monitored and approved through Parkland. They are our broker dealer. Call me and I will

 explain. You will have sub accounts inside Parkland and this UIT is one of them.” These

 statements and representations that Ashley made were false in that Ashley never invested

 any of R.G.’s funds with Parkland Securities.




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         42. On or about February 6, 2020, in furtherance of the scheme, Ashley sent a

 cell phone text message to R.G. s phone. In this message, Ashley stated, Please try to

 get wire done today. I do not want to have to redo paperwork. R.G. responded by cell

 phone text message to Ashley, Ok, 75K right?” Ashley replied by cell phone text

 message, “Yes.” A short time later R.G. sent another cell phone text message to Ashley

 asking, “So after this UIT is purchased will I get a statement or shares or anything?”

 Ashley responded by cell phone text message to R.G., “Yes, it will be on your Parkland

 statement, just like all your other statements but in a brokerage account we can hold

 UIT/Stocks/LP/Ex.” These statements and representations that Ashley made were false in

 that Ashley never invested any of R.G. s funds with Parkland Securities.

         43. On or about February 6, 2020, at the request of and with the knowledge of

 Ashley, and based on Ashley’s representations, pretenses, and statements, R.G. wire

 transferred the amount of $75,000 from NDBTC account number XXXXXX0960 to

 KBKK BB&T account number XXXXXX8725. This wire transfer caused an interstate

 electronic transmission from Texas through the State of North Carolina. R.G. intended

 for these funds to be placed into a Parkland Securities UIT investment as explained to

 him by Ashley. After these funds were deposited by Ashley, Ashley caused over $40,000

 of the funds to be transferred to the NTMM Chase account, number XXXXXX2589, that

 he controlled. These transfers included a transfer on or about February 7, 2020, in the

 amount of approximately $16,496.15 that Ashley made from KBKK BB&T account

 number XXXXXX8725 to NTMM chase account number XXXXXX2589; this wire



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transfer caused an interstate transmission from Texas through the state of North Carolina.

These transfers also included a transfer on or about February 10, 2020, in the amount of

approximately $12,000 that Ashley made from KBKK BB&T account number

XXXXXX8725 to NTMM Chase account number XXXXXX2589; this wire transfer

caused an interstate transmission from Texas through the State of North Carolina. These

transfers also included a transfer on or about February 12, 2020, in the amount of

approximately $13,500 that Ashley made from KBKK BB&T account number

XXXXXX8725 to NTMM Chase account number XXXXXX2589; this wire transfer

caused an interstate transmission from Texas through the state of North Carolina.

         44. All told, R.G. provided $75,000 to Ashley to invest through Parkland

 Securities in a UIT investment, and in the end, R.G. suffered a net loss of approximately

 $74,742.19 as a result of Ashley s fraud scheme.

                       Acts in Execution of the Scheme and Artifice


          On or about the dates specified below, in the Eastern District of Texas and

elsewhere, for the purpose of executing and attempting to execute the above-described

scheme and artifice to defraud and obtain money from the victim investors, by means of

false and fraudulent pretenses, representations, and promises, the defendant, Keith Todd

Ashley, knowingly transmitted and caused to be transmitted by means of wire

communication in interstate and foreign commerce the writings, signs, signals pictures, and

sounds described below:




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                  Date           Description of Interstate Transmission
  Count
             On or About
      1       May 5,2016           Interstate wire transfer of funds from
                                   TCB account number XXXXXX5105
                                     to KBKK BB&T account number
                                              XXXXXX8725,
                                 in the amount of approximately $150,000
     2         August 19,          Interstate wire transfer of funds from
                  2019                 UMB Bank XXXXXX1411
                                          to KBKK BB&T
                                          XXXXXX8725,
                                 in the amount of approximately $25,000
     3        February 6,          Interstate wire transfer of funds from
                  2020                   NDBTC XXXXXX0960
                                    to KBKK BB&T XXXXXX8725,
                                  in the amount of approximately $75,000
     4        February 7,          Interstate wire transfer of funds from
                  2020                KBKK BB&T XXXXXX8725
                                    to Ashley Chase XXXXXX2589,
                                in the amount of approximately $16,495.15
     5       February 10,          Interstate wire transfer of funds from
                  2020                KBKK BB&T XXXXXX8725
                                    to Ashley Chase XXXXXX2589,
                                 in the amount of approximately $12,000
     6       February 12,          Interstate wire transfer of funds from
                  2020               KBKK BB&T XXXXXX8725
                                    to Ashley Chase XXXXXX2589
                                 in the amount of approximately $13,500




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               NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                  Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

        1. The allegations contained in Counts 1 - 6 of this indictment are realleged and

incorporated by reference as though fully set forth herein for the purpose of alleging

forfeiture to the United States of America of certain property in which the defendant has an

interest.


       2. Upon conviction of any violation of 18 U.S.C. § 1343, the defendant, Keith

Todd Ashley, shall forfeit to the United States any property, real or personal, that

constitutes or is derived from proceeds traceable to a violation of any offense constituting

 specified unlawful activity, or a conspiracy to commit such offense, pursuant to 18 U.S.C.


§ 981(a)(1)(C) and 28 U.S.C. § 2461(c).

       3. The property which is subject to forfeiture, includes but is not limited to the

following:

               Cash Proceeds:

               A sum of money equal to $1,143,000.00 in United States currency, and
               all interest and proceeds traceable thereto, representing the proceeds of
               the offense, for which the defendant is personally liable.

       4. Pursuant to 21 U.S.C. § 853(p), as incorporated by reference by 18 U.S.C. §

982(b), if any of the forfeitable property, or any portion thereof, as a result of any act or

omission of the defendant:

               a. Cannot be located upon the exercise of due diligence;

               b. Has been transferred, or sold to, or deposited with a third party;

               c. Has been placed beyond the jurisdiction of the Court;

               d. Has been substantially diminished in value; or
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                e. Has been commingled with other property which cannot be subdivided

                      without difficulty;

it is the intent of the United States to seek the forfeiture of other property of the defendant up

to the value of the above-described forfeitable properties, including, but not limited to, any

identifiable property in the name of Keith Todd Ashley.

        5. By virtue of the commission of the offenses alleged in this indictment, any and

all interest the defendant has in the above-described property is vested in the United States

and hereby forfeited to the United States pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.

§ 2461(c).

       6. All pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and the

procedures set forth at 21 U.S.C. § 853, as made applicable through 18 U.S.C. § 982(b)(1).

                                                  A TRUE BILL



                                                    GRAND JURY FOREPERSON




 STEPHE J. COX
 UNIT      qrTMmS ATTORNEY


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 HEAT?!)m RATTAN                                    Date 1    \
 Assistant United States Attorney




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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 UNITED STATES OF AMERICA § SEALED
                                               §
 V. § Case No. 4:20-CR-00
                                               § Judge
 KEITH TODD ASHLEY §

                                      NOTICE OF PENALTY

                                           Counts 1-6


Violation: 18 U.S.C. § 1343 (Wire Fraud)

Penalty: Imprisonment for a term not to exceed twenty (20) years; a fine
                    not to exceed $250,000, or if any person derives pecuniary gain
                    from the offense, or if the offense results in pecuniary loss to a
                    person other than the defendant then a fine not more than the
                    greater of twice the gross gain to the defendant or twice the gross
                    loss to individual(s) other than the defendant; or both such
                    imprisonment and fine; and a term of supervised release of not
                    more than three (3) years.



 Special Assessment: $100.00




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